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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE                                         :      CHAPTER 11
                                               :
 STEPHEN DAVID KING,                           :      CASE NO. 18-71778-WLH
                                               :
      Debtor.                                  :
 __ __ __ __ __ __ __ __ __ __ __              :    __ __ __ __ __ __ __ __ __ __ __
 HYUNDAI LEASE TITLING TRUST,                  :
                                               :
       Movant,                                 :
                                               :
 v.                                            :      CONTESTED MATTER
                                               :
 STEPHEN DAVID KING, Debtor and                :
 Debtor-in-Possession,                         :
                                               :
       Respondent.                             :
                                               :
                                               :
                                               :



                    MOTION FOR RELIEF FROM AUTOMATIC STAY

       NOW COMES HYUNDAI LEASE TITLING TRUST (the "Movant") and moves this
Court for relief from the automatic stay and shows the Court as follows:
                                               1.
       On December 31, 2018, Stephen David King ("Debtor") filed a Voluntary Petition
pursuant to 11 U.S.C. Chapter 11, and said case is pending before this Court.
                                               2.
       Movant has a claim in this case based on a Lease Agreement with Debtor for the lease
of a 2016 Hyundai Santa Fe VIN KM8SR4HFXGU140053 (the "Vehicle"). The Lease has
been paid in full. The approximate purchase option which has expired was $22,778.00. The
Lease matured February 8, 2019. The Vehicle was surrendered, and Movant is in possession.
                                               3.
         The Lease Agreement is a “true lease” under Georgia law.
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                                                 4.
       Debtor does not have an equity in the Vehicle or the Lease Agreement and neither the
Vehicle nor the Lease Agreement is necessary to an effective reorganization that is in prospect.
                                                 5.
       Cause exists including the lack of adequate protection to grant Movant relief from the
automatic stay so as to authorize Movant to recover the Vehicle.
                                                 6.
       Movant requests that Rule 4001(a)(3) be waived.
       WHEREFORE, Movant prays that this Court:
       (a) Hold a hearing pursuant to this Motion within thirty (30) days as is required under 11
U.S.C. Section 362(e);
       (b) Enter an Order terminating the estate’s interest, if any, in the Lease Agreement as
herein defined and providing further that the automatic stay, to the extent it restrains Movant
from enforcing its rights in and to the Vehicle, be vacated;
       (c) Rule 4001(a)(3) be waived; and
       (d) Grant such other and further relief as the Court deems to be just and proper.
       This June 25, 2019.

                                         The Law Office of
                                         LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                         Attorneys for Movant


                                         By: /s/Craig B. Lefkoff
                                                Craig B. Lefkoff
                                                Georgia State Bar No. 445045
5555 Glenridge Connector
Suite 900
Atlanta, Georgia 30342
(404) 869-6900
clefkoff@lrglaw.com
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 IN RE                                         :       CHAPTER 11
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       Movant,                                 :
                                               :
 v.                                            :
                                               :       CONTESTED MATTER
 STEPHEN DAVID KING, Debtor and                :
 Debtor-in-Possession,                         :
                                               :
       Respondent.                             :
                                               :
                                               :
                                               :


                                 CERTIFICATE OF SERVICE

        The undersigned, Craig B. Lefkoff, hereby certifies that I am, and at all times
hereinafter mentioned, was more than 18 years of age, and that I served the MOTION FOR
RELIEF FROM AUTOMATIC STAY and NOTICE OF HEARING on the following parties 1)
electronically, if allowed by and pursuant to the requirements of local rule, or 2) by depositing
same in the United States Mail in properly addressed envelope(s) with adequate postage to all
others, as follows:

Stephen David King
450 Glenmont Ct
Atlanta, GA 30350

William A. Rountree, Esq.
Rountree Leitman & Klein, LLC
Century Plaza I
2987 Clairmont Road
Suite 175
Atlanta, Georgia 30329
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United States Trustee
362 Richard Russell Bldg.
75 Ted Turner Drive, SW
Atlanta, Georgia 30303

      This June 25, 2019.

                                   The Law Office of
                                   LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                   Attorneys for Movant


                                   By: /s/Craig B. Lefkoff
                                          Craig B. Lefkoff
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 IN RE                                          :      CHAPTER 11
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 HYUNDAI LEASE TITLING TRUST,                   :
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       Movant,                                  :
                                                :
 v.                                             :
                                                :      CONTESTED MATTER
 STEPHEN DAVID KING, Debtor and                 :
 Debtor-in-Possession,                          :
                                                :
       Respondent.                              :



                                   NOTICE OF HEARING

        PLEASE TAKE NOTICE that Hyundai Lease Titling Trust has filed a Motion for
Relief from Automatic Stay and related papers with the Court seeking an order of relief from
the Automatic Stay.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for
Relief from Automatic Stay, in Courtroom 1403, The Richard B. Russell Federal Building,
75 Ted Turner Drive, SW, Atlanta, Georgia at 2:30 p.m. on July 18, 2019.

Your rights may be affected by the Court’s ruling on these pleadings. You should read these
pleadings carefully and discuss with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the Court to
grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you
file a written response, you must attach a certificate stating when, how and on whom
(including addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address for the
Clerk’s Office is: Clerk, United States Bankruptcy Court, Room 1340, U.S. Courthouse, 75
Ted Turner Drive, SW, Atlanta, Georgia 30303. You must also mail a copy of your response
to the undersigned at the address stated below.
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IF THE MOTION IS FOR RELIEF FROM STAY, and a hearing on the motion for relief from
the automatic stay cannot be held within thirty (30) days, Movant waives the requirement for
holding a preliminary hearing within thirty days of filing the motion and agrees to a hearing on
the earliest possible date. Movant consent to the automatic stay remaining in effect until the
Court orders otherwise.


Dated: June 25, 2019                    Signature: /s/Craig B. Lefkoff
                                                       Craig B. Lefkoff
                                                       5555 Glenridge Connector
                                                       Suite 900
                                                       Atlanta, Georgia 30342
                                                       (404) 869-6900
                                                       clefkoff@lrglaw.com
                                                       Bar Number 445045
